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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-60278-CIV-UNGARO/REID

 YAMEL GONZALEZ, individually
 and on behalf of all other similarly situated,

                Plaintiff,
 vs.

 CHRISTAL TRANSPORT, LLC and
 ORALDO SOSA,

             Defendants.
 ____________________________________/

                      NOTICE OF JOINT SELECTION OF MEDIATOR

        The parties hereby give notice to the Court that a mediation conference in this matter

 shall be held with Catalina M. Avalos, of Tripp Scott, 110 Southeast 6th St., Fort Lauderdale, FL

 33301, 954-525-7500, on Tuesday September 14, 2021 at 9:30 A.M. to be conducted via Zoom,

 unless circumstances related to the Covid-19 pandemic have changed by September 2021.

  Respectfully submitted,                             Respectfully submitted,

  BLACK LAW P.A.                                      BT LAW GROUP, PLLC

  s/ Kelsey K. Black                                  s/ Anisley Tarrangona____
  Kelsey Black, Fla. Bar No. 079825                   Anisley Tarragona, Fla. Bar No. 51626
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